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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                       v.                      :       Case No: 21-CR-403 (RC)
                                               :
NICOLE PRADO,                                  :
                            Defendant.         :


                JOINT MOTION TO CORRECT STATEMENT OF OFFENSE

         Comes Now the Government and Defendant, by counsel, and respectfully move this

Court, pursuant to Rule 36 of the Federal Rules of Criminal Procedure, to correct an error in

paragraph eight of the Statement of Offense1 (ECF #33), filed November 22, 2021.

         In support of this request, the parties proffer that subsequent to the entry of Defendant’s

guilty plea, the government conducted additional investigation into the timing of Defendant’s

entry into the Capitol building. That investigation revealed that Ms. Prado entered the building

at 2:35 p.m. (rather than between 2:20 p.m. and 2:30 p.m., as stated in the original SOO) and that

she remained in the building for approximately 17 minutes (rather than 20-30 minutes, as stated

in the original SOO). The difference in timing has no bearing on any element of the offense to

which Defendant plead guilty, but it may be a relevant consideration at sentencing.

         Accordingly, and for good cause shown, the parties now jointly move this Court to amend

the Statement of Offense to correctly reflect the defendant’s time of entry into the building.




1   hereinafter SOO.
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                                          Respectfully submitted,




                                                 /s/
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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of January, 2022, I will electronically file the
foregoing Motion to Continue with the Clerk of Court using the CM/ECF system, which will
then send a notification of said filing (NEF) to counsel of record.

                                                            _______________/s/__________
                                                                     Joan Robin
